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                   EXHIBIT 24
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC




Interim Update from
Internal Review of CTS Projects
Presentation on Behalf of L&T Construction
to the U.S. Department of Justice
Debevoise & Plimpton LLP
        Colby A. Smith, Philip Rohlik, Saqib Alam, Alice N. Barrett


Cyril Amarchand Mangaldas
        L. Viswanathan


July 27, 2017                                        CORRECTED - AUGUST 4, 2017




                                                                                        LT00005782
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Agenda

• L&T Construction Background
• Scope and Methodology of Review
• Update on Status of Review of Priority Projects
     – KITS, Sholinganallur
     – Pune Phases 1, 1A, 2, 2A and Co-Developer
     – Hyderabad Incubation and ISC
• Next Steps and Ongoing Cooperation




                                                                                                2

                                                                                        LT00005783
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  L&T Construction Background




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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Larsen & Toubro Ltd

• Larsen & Toubro Ltd (or “L&T Group”)
     – International Conglomerate based in Mumbai
     – Founded 75 years ago by Danish engineers who had become
       stranded in India at the outbreak of World War II
     – One of the largest professionally managed firms in India
        » 43,354 employees
     – Conducts business through 14 business units
        » Six business units compose L&T Construction or LNTECC
            * Largest part of L&T Group
            * A leading EPC contractor in India and the Middle East




                                                                                                4

                                                                                        LT00005785
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              FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC

• Six businesses within LNTECC
     – Buildings & Factories
     – Power Transmission & Distribution
     – Water & Effluent Treatment
     – Smart World & Communication
     – Heavy Civil Infrastructure
     – Transportation Infrastructure




                                                                                               5

                                                                                       LT00005786
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           FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC




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           FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC




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              FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Awards and Achievements

• 2014 & 2011 Golden Peacock Award for Excellence in
 Corporate governance – awarded by Institute of Directors (IoD), a
 non-profit apex association of directors
• 2013 Economic Times Good Corporate Citizen Award –
 presented by ET - India's largest selling business newspaper
    – Over 700,000 people among the marginalized sections of the
       society have been beneficiaries of L&T's ongoing interventions in
       education, skill building, and mother and child care
• 2014-2016 – Dun & Bradstreet Corporate Award – Top Indian
 company in construction – infrastructure development




                                                                                               8

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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC Focus on India

• LNTECC employee roster dominated by India
               Domestic / International                  Country        No.of Staff

         Domestic                             INDIA                       25,630
                                              AFRICA                        16
                                              ALGERIA                       18
                                              BAHRAIN                        1
                                              BOTSWANA                       1
                                              CHINA                          2
                                              EAST MALAYSIA                 15
                                              ETHIOPIA                      14
                                              KENYA                         31
                                              KUWAIT                        48
         Overseas                             MALAWI                        29
                                              OMAN                         611
                                              QATAR                        938
                                              SAUDI                        781
                                              SRILANKA                      45
                                              THAILAND                      13
                                              UAE                          680
                                              USA                           0

                                              WEST MALAYSIA                 20

                                  Overseas Total                           3,247
                              Overseas Percentage                         11.24%
                                  Grand Total                             28,893                9

                                                                                        LT00005790
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC Focus on India

• Listed only on Indian stock exchanges
• Financial reporting only in Indian Rupees (“INR”)
• Indian Numbering System:
     – 1 Lakh = INR 1,00,000 (one hundred thousand) = roughly
       US$ 1,550
     – 1 Crore = INR 1,00,00,000 (ten million) = roughly US$ 155,000
• Historic exchange rates (oanda.com):
         YEAR               2013             2014              2015             2016

           USD 1           INR 58.5          INR 61.0         INR 64.1          INR 67.2


         INR 1 Lakh        USD 1,709        USD 1,639         USD 1,560        USD 1,488


        INR 1 Crore       USD 170,940      USD 163,934      USD 156,006       USD 148,810
                                                                                                  10

                                                                                           LT00005791
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC Focus on India
• LNTECC revenue (in INR Cr.):
      LNTECC Sales summary                  FY 14            FY 15             FY 16
      Total Customer Sales                  34,548           40,161            41,791
      India Sales                           29,242           32,599           34,695
        %age India Sales                     85%              81%              83%
      Sales Other locations                 5,306             7,562            7,096
        %age other locations                 15%              19%               17%
      Sales in US                                Ø             Ø                 Ø
        %age US                                  Ø             Ø                 Ø


• LNTECC revenue from CTS, earned in India
                                          FY 14             FY 15              FY 16


      Sales Value in INR Crs.              678               254                 21



      Sales % vs Other Business           1.96%             0.63%              0.05%



                                                                                               11

                                                                                        LT00005792
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC Relationship with CTS

• Cognizant Technology Solutions India Private Ltd (“CTS”) works with
 IT & Office Space unit within Buildings & Factories
• All contracts are with CTS and denominated in Indian Rupees




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                                                                                         LT00005793
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC Relationship with CTS
                                                                                           PROJECT DETAILS


• LNTECC and CTS have worked together
  since 2006 on 13 projects                                   S.No        Project           Status      Project Period   Contract Agreement




      – 9 projects completed
                                                               1        MEPZ Ph1          Completed     2006 to 2011          Mar-07

      – 1 project pre-closed                                   2        MEPZ Ph2          Completed     2007 to 2012          Dec-07



      – 3 projects on hold                                     3        Bantala Ph1       Completed     2007 to 2010          Jan-08


                                                               4       Bantala Ph2        Completed     2011 to 2014          Apr-13



• All projects = design/build contracts                        5         Siruseri         Completed     2010 to 2013           Jun'11


                                                               6         Pune Ph1         Completed     2011 to 2014           Dec'13

     – LNTECC completes project based                          7        Pune Ph1A         Completed     2012 to 2014          Feb-13

       upon CTS specifications and for a                       8           KITS           Completed     2011 to 2016          Aug-12


       predetermined price                                     9          KOCHI           Completed     2012 to 2016          Feb-13

                                                               10     HYD Incubation      Preclosed     2013 to 2015        LOA-Oct'13


     – No role in land acquisition                             11        HYD ISC           Ongoing         2016 to          LOA- Oct'15

                                                               12        Pune Ph2        LOI Received      2016 to          LOA-June'16


• CTS is one of few customers that requires                    13    Pune- Codeveloper   LOI Received      2016 to          LOA-June'16



  LNTECC to help with statutory approvals


                                                                                                                                        13

                                                                                                                     LT00005794
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


LNTECC Relationship with CTS

• Design-build contracts performed on a “lumpsum” basis
     – FIDIC conditions
     – Monthly payments effected on the percentage achievement of
       enumerated activities by way of Running Account Bills (RABs)
• Parties agree to scope of work and enumerated activities
     – Each activity assigned percentage weightage of lumpsum cost by
       agreement
     – Activities NOT billed on a cost or cost-plus basis
• Work outside agreed scope billed by way of variation or extra claim




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                                                                                         LT00005795
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Scope and Methodology of Review




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                                                                                 LT00005796
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


DOJ Contacts and Decision to Conduct Review

• October 5, 2016 – DOJ issues Formal Request for Preservation of
  Records to L&T Infotech in Edison, New Jersey
     – L&T Infotech is a separately listed company
     – We understand delivery was made on October 13, 2016
     – On or about October 18, 2016, preservation request sent to
       LNTECC in Chennai, India
• LNTECC contacted Cyril Amarchand Mangaldas (“CAM”) and begins
  working with Debevoise one week later
• October 31, 2016 – Debevoise advises DOJ that LNTECC will
  voluntarily comply with preservation notice
• February 23, 2017 – Debevoise advises DOJ that LNTECC will
  voluntarily undertake internal review
• June 22, 2017 – First voluntary production by LNTECC
                                                                                                16

                                                                                         LT00005797
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Data Preservation

• First data preservation notice sent to 28 custodians the day after
  Debevoise was contacted
     – Additional preservation notices sent to a total of 69 custodians
       on a rolling basis
• As of today, a total of 29 hard drives were imaged
     – Data includes senior leadership of LNTECC, supervisory heads of
       Buildings & Factories (responsible for CTS projects) and
       individual project teams
• 88 back-up tapes restored for 12 key custodians
• A total of 485.3 GB of mail files and user files uploaded after filtering
  for Cognizant or CTS references and within 1997 – 2016 date range
      – A total of 1,220,750 documents loaded into database


                                                                                                17

                                                                                         LT00005798
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Scope of Review and Supervision

• Internal review jointly conducted by Debevoise and CAM
• Focus of review on relationship with CTS and related projects
     – Focus informed by CTS disclosures and related publicity and by
       DOJ document preservation request
     – Full access to LNTECC employees
• First-level document review carried out by CAM
     – CAM reviewers trained by Debevoise
• Second-level review and QC carried out jointly by Debevoise and senior
  CAM lawyers
• Current employees readily made available for interviews
• Forensic accounting work stream fully supported by finance team

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                                                                                         LT00005799
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Priority Projects

• Initial focus on most recent projects
     – Hyderabad Incubation and ISC
        » Desire to facilitate project restart, completion and payment
     – Pune Phases 1, 1A, 2, 2A and Co-Developer
        » Spanning 2011-2016
        » Mumbai region
     – KITS, Sholinganallur
        » Spanning 2012-2015
        » Chennai region
     – Kochi project also added to early review
• Other projects subject to later review


                                                                                                19

                                                                                         LT00005800
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Focus on Statutory Approvals/Variation Claims

• Initial interviews used to assess project risks
     – Many aspects of project present lower FCPA corruption risk
       » Subcontractors supplying material, equipment and manpower
       » Relative lack of government involvement in activities
• High corruption risk when dealing with government officials in India
     – Apart from land acquisition, statutorily-required government
       approvals appear to present highest risk of corrupt demands
        » Ability of government officials to stop or delay projects
        » Frequent low value of demands increase temptation to pay
          small amounts to allow large projects to proceed
     – Use of third party consultants for statutory approvals, lack of
       LNTECC experience in area increase potential risks
• Variation/extra claims identified after scoping interviews
                                                                                                20

                                                                                         LT00005801
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Work to Date

• Document review:
     – 104,278 documents identified for review using search strings
        » 346 search strings used, including project names, consultant
          names, suggestive language, official titles, etc.
     – 9,231 documents identified for review at second level
     – Additional review of unfiltered data
• Interviews of 32 individuals and consultants:
     – 6 scoping interviews conducted first week of January 2017
     – 23 formal interviews April 24 – May 5, 2017
        » Including 4 consultants
     – 15 formal interviews July 17 – 21, 2017
• Forensic accounting work to identify questionable money flows
                                                                                                21

                                                                                         LT00005802
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Challenges/Limitations

• LNTECC unfamiliar with DOJ investigations
     – No former involvement with DOJ or U.S. style investigations
     – Educating client and witnesses has taken time
• Company email boxes limited to 1GB
     – Thereafter storage takes place on local machines, if at all
     – Monthly snapshots in backup tapes yield relatively little new
       information given the 1GB limit

• Unavailability of some consultants
• Unavailability of some former employees



                                                                                                22

                                                                                         LT00005803
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Challenges/Limitations

• Major flood at KITS Project document location and LNTECC following
 December 2015 monsoon




                                                                                               23

                                                                                        LT00005804
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      Update on Status of Review
         of Priority Projects

               KITS, Sholinganallur




                                                                                        24

                                                                                 LT00005805
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KITS Project




• KITS, sometimes referred to as CKC by CTS or as Sholinganallur, is an
  office campus in Chennai, Tamil Nadu, housing 17,500 people
• Original Letter of Acceptance dated November 5, 2011, following an
  April 12, 2011 Request for Proposal and tender process
• Original construction contract dated August 27, 2012
     – Project value set at INR 925.39 Cr. or roughly US$140 million
     – Work commenced November 7, 2011; occupancy February 10,
       2015
                                                                                                25

                                                                                         LT00005806
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Statutory Approvals
                                       • “2. Scope of Work” included “12. All related
                                         statutory approvals”
                                           • “Contractor will coordinate with Cognizant
                                              and obtain the same”
                                       • Scope further specified in Annex listing
                                         “Licenses/Statutory Approvals” to be obtained
                                       • No FCPA or anti-corruption clause in contract




                                                                                             26

                                                                                      LT00005807
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KITS Project – Statutory Approvals

• Plan for statutory approvals
     – As owner, CTS required to obtain
       statutory approvals
     – Per contract, CTS responsible for
       applicable fees, but LNTECC
       “shall liaise and co-ordinate with
       Cognizant for obtaining the
       required approvals”
     – Statutory approvals plan
       weightage = 0.75% of contract
       price or INR 6.9 Cr.




                                                                                                27

                                                                                         LT00005808
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Statutory Approvals

• Ensys Technologies engaged to obtain environmental approvals
• To date no other outside consultants identified in connection with
  KITS statutory approvals process




                                                                                                28

                                                                                         LT00005809
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KITS Project: Ensys Technologies

• LOI signed December 17, 2011
• Scope of Work:
     – “Environmental Consultancy – MOEF [SEIAA – Chennai]
       Clearance & TNPCB Consent to Establish & Green Certification”
     – Design Stage: “to prepare a Program Brief for the Master
       Planners and to provide support during the Master Planning
       process.”
     – Pre-Construction Stage: “to provide assistance to get
       ‘Environmental Clearance under the EIA notification of 2006 of
       the SEZ.”
• Contract Value: INR 11,00,000 (11 Lakhs)



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                                                                                        LT00005810
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KITS Project: Ensys Technologies

• Terms of Payment:
     – EIA Clearance: INR 7,00,000
        » 60% on submission and acceptance of documents at MoEF –
          GOI – New Delhi
        » 30% on completion of presentation with MoEF
        » 10% on securing EC from MoEF
     – TNPCB Clearance: INR 4,00,000
        » 90% on submission of documents to TNPCB
        » 10% on securing Consent from TNPCB
• Actual payments made later than required by contract



                                                                                                30

                                                                                         LT00005811
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project: Ensys Technologies

• Actual Payments: INR 19,64,185.20 (19.6 Lakhs)
• Invoice Descriptions include:
     – “Environmental Consultancy Services regarding MoEF”
     – “Environmental Consultancy Services securing Environmental
       Clearance from SEIAA”
     – “Environmental Monitoring & Compliance Report”
• Permits Obtained: Environmental Clearance; others unknown
• Due Diligence: No indication of any due diligence, but work on prior
  non-CTS project




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                                                                                         LT00005812
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Ensys Technologies

• TNPCB clearance later removed from scope of work due to “high cost
 of liaisoning”
      – Obtained using internal resources
      – No amendments to Ensys LOI to reflect change in scope
• A cash payment of INR 5 Lakhs (approx US$ 7,500) appears to have
 been paid to Ensys as a “liaisoning fee” because of the “urgent
 requirements towards securing EC”




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                                                                                        LT00005813
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Ensys Technologies




• 5 Lakh payment funded through TNPCB item (even though removed
 from scope) paid to Ensys by way of a work order
                                                                                               33

                                                                                        LT00005814
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Internally Handled Approvals – Nagasubramanian

• LNTECC employee functioning as internal consultant
     – Routinely assisted with statutory approvals in Tamil Nadu
     – Originally hired as Accounts Supervisor in May 2008
     – Retained for Executive Administration in February 2010
     – Promoted to Assistant Manager-Administration in January 2012
• Internal expert on local rules, person responsible for doing leg work
  with government offices
• Basic Salary: Initially offered INR 11,700 (~US$ 182) per month in
  2008; earning INR 20,400 (~US$ 317) per month as of 2016
• Signed Code of Conduct from 2014



                                                                                                34

                                                                                         LT00005815
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                 FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• Planning permit is mandatory government approval indicating that the
  development conforms with the land use requirements of the local area
     – Construction undertaken prior to obtaining approval may have to
        be demolished or changed
     – Planning Permit is pre-requisite to getting Occupancy Certificate
• Planning permit must be obtained form Chennai Metropolitan
  Development Authority (“CMDA”)– part of the Tamil Nadu Ministry for
  Housing and Urban Development
• February 7, 2013 – Application for planning permit submitted in CTS’s
  name




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                                                                                          LT00005816
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• November 27, 2013 – Meeting between CTS and LNTECC at which
 expediting process for obtaining planning permit is discussed
    – LNTECC asked to determine tentative cost of scrutiny fee
      associated with planning permit




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                                                                                        LT00005817
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• December 4, 2013 – At periodic Management Review Meeting, CTS
 emphasizes that “[p]lanning permit process should be expedited” and
 LNTECC “informed that action already being taken up appropriately”
• December 10, 2013 – Reference to a meeting between LNTECC and
 “the Ministry” in an email exchange related to the planning permit
    – LNTECC responds that it is “closely working on” meeting with
       the Ministry and also awaiting a government order on CMDA
       development charges
• December 17, 2013 – LNTECC informs CTS that minister has had a
 “road accident” and cannot meet immediately




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                                                                                        LT00005818
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• January 17, 2014 – CTS and LNTECC hold a meeting to discuss
 planning permit and LNTECC suggests that CTS hold a meeting with
 the Chief Minister of Tamil Nadu to obtain KITS approvals
• January 20, 2014 – CTS responds:




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                                                                                        LT00005819
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit




                                                                                             39

                                                                                      LT00005820
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• January 20, 2014 – Draft letter prepared for possible use by LNTECC




                                                                                                40

                                                                                         LT00005821
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• February 25, 2014:




                                                                                               41

                                                                                        LT00005822
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit




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                                                                                      LT00005823
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit




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KITS Project – Planning Permit




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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• March 11, 2014 – CTS emails LNTECC about delayed occupancy absent
 planning permit and resulting “huge revenue loss”
• March 12, 2014 – Telephone meeting is held among CTS and LNTECC
 Construction personnel to discuss “General Review of Ongoing
 Contracts”
• March 13, 2014 – LNTECC responds to CTS:




                                                                                               45

                                                                                        LT00005826
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• April 7-15, 2014 – Discussions between LNTECC and CTS regarding
  planned Academy building at KITS




• Academy building not built (foundation in place)
     – No evidence proposal was ever implemented
                                                                                                46

                                                                                         LT00005827
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• May 17, 2014 – CTS continues to withhold payments, now totaling
 108.5 Cr.




• Imposing significant hardship on LNTECC




                                                                                               47

                                                                                        LT00005828
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• June 30, 2014 – Government Order for issuance of planning permit
     – LNTECC: “Nobody should know...L&T has got this G.O.”
     – G.O. instructs CMDA Member-Secretary to take further steps to
       issue planning permit




                                                                                               48

                                                                                        LT00005829
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• June 28, 2014: Mugalivakkam building collapse, Chennai




                                                                                               49

                                                                                        LT00005830
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• July 23, 2014 – LNTECC again emails seeking payment from CTS:




                                                                                               50

                                                                                        LT00005831
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Planning Permit

• November 4, 2014 – Planning
 Permit awarded by CMDA
    – First approval of a planning
      permit by CMDA “after
      Mugalivakkam incident”
      (2014 building collapse
      killing 61)



• February 10, 2015 – Formal
 inauguration of KITS campus
    – Ceremony attended by CTS
      and LNTECC teams

                                                                                               51

                                                                                        LT00005832
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• Design-build contract requires EPC contractor to design and complete
  a building or campus to specifications set forth by owner
     – Contract calls for payment of agreed-upon fixed fee
     – EPC contractor is responsible for all in-scope costs associated
        with project, regardless of whether costs are below or above
        agreed fee
• Owner changes in specifications or scope of work can give rise to
  claims by EPC contractor for variation or extra work claims
      – Normal process is for EPC contractor to apply for variation
        claims based upon changes in the work
      – Owner evaluates application – allows some claims, rejects others
      – Resolution takes form of negotiated contract amendment


                                                                                                52

                                                                                         LT00005833
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims




                                                                                             53

                                                                                      LT00005834
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• July 2, 2014 – LNTECC sends to
 CTS first draft of variation claims
 for KITS project totaling INR
 68.86 Cr.
     – Nothing specifically related
       to statutory approvals
       included in claim




                                                                                               54

                                                                                        LT00005835
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims
• August 6, 2014 – First reference to extra claim for Statutory Approval
  for KITS Project, in initial amount of INR 22.6 Cr.:




                                                                                                55

                                                                                         LT00005836
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• Goal of process to preserve margin, including INR 12 Cr. amount for
  “additional client requirement”




                                                                                                56

                                                                                         LT00005837
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• November 12, 2014 – Detailed variation claim totaling INR 168 Cr.
  sent to CTS; approvals/ campus regularization claim INR 23.9 Cr.




                                                                                                57

                                                                                         LT00005838
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims




                                                                                             58

                                                                                      LT00005839
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims




                                                                                             59

                                                                                      LT00005840
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims




                                                                                             60

                                                                                      LT00005841
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• Lowers OSR claim by INR 1.5 Cr.
• Increases enrichment of interiors
  claim by INR 1.85 Cr.
• Total goes up by INR .35 Cr.




                                                                                                61

                                                                                         LT00005842
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• CTS rejects revised claims, asking for items to be broken up




• LNTECC agrees to provide break up detail by February 23, 2015




                                                                                                62

                                                                                         LT00005843
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• Additional breakdown
                                       L & T Construction, Buildings & Factories.


                                       KITS - Cognizant Sholinganallur



 provided by LNTECC for                Sno            Description                                    Amount                 Remarks



 enhancement claims
                                                     1Cafeteria Chairs with BIFMA Certification                 3000000

                                                     2Wooden Laminate Ceiling                                 10014637.32

                                                     3Wooden Rafter Ceiling                                    16836335.3


    – Adds to INR 5.5 Cr.                            4Jeb Partitions

                                                     5Highlighter Tiles
                                                                                                                 2217024

                                                                                                              959999.9159



    – Claim had been INR
                                                     6Seating Island                                               75000

                                                     7DB Shutters                                               15471000

                                                     8Stacking Stone                                            238341.12

       26.35 Cr. in prior                            9Amoeba Light Fixtures

                                                    10Architectural Light Fixtures
                                                                                                                 7341600

                                                                                                               10000000

       submission                                   11G28 Ceiling

                                                    12Substation Elevation Changes
                                                                                                              6156298.976

                                                                                                                 3244800

                                                    13Tiles & Kotah cladding in Kitchen corridor                 2383000

                                                    14Gradient Carpets in corridor areas                        4000000

                                                    15Murals                                                  4860112.776

                                                    16ACP in Staircase Headroom/Ramp                              500000

                                                    17River White Granite in service corridors                   6912000

                                                    18Natural marble in Entrance & Lift Lobby                    5500000

                                                    19Planter boxes in corridor                                  5700000

                                                    20Veneer Rafters & Glass partition in Pantry                 3500000

                                                    21Glass Canopy in building entrance                          1800000

                                                    22Shera Planks Walkway in OAT area                           1500000

                                                    23Clover Ceiling in Celebration Area                          750000

                                                    24Knife Edge Corner & Trims in Director Room                 5500000

                                                    25Granite in basement lift lobby extended area                500000

                                                    26Frosted Film in Jeb & ODC Glass / Doors                   5000000

                                                    27MDF Base for SDB-3 Main Staircase                           500000

                                                    28Stone Signage                                               100000

                                                    29Veneer Finish Fire Doors                                    200000



                                                                                                                                      63
                                                    30V49 Ceiling                                             2022387.716


                                       Total (Rs)                                                             126782537.1




                                                                                                                  LT00005844
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• February 23, 2015 – “Final” version of variation claim
• 26 different line items
  approved by CTS




• INR 22.6 Cr. statutory
  approval claim disallowed
• INR 29.5 Cr. enrichment
  claim also disallowed
• Total is only INR 51.2 Cr.
                                                                                                64

                                                                                         LT00005845
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• March 11, 2015 – CTS internal approval = INR 59.3 Cr.




                                                                                                65

                                                                                         LT00005846
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                 FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims
• March 25, 2015 – Negotiations                    • Bottom line:
  over variation claims finalized and
  declared closed by CTS




                                                   • INR 59.3 Cr. in variations approved
                                                            – Some amounts approved in 44
                                                              different line items
                                                            – No statutory approval claims
                                                            – INR 9.0 Cr. for enrichment

                                                                                                 66

                                                                                          LT00005847
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• August 4, 2015 – First (and only) Amendment to KITS contract taking
 account of variation claims, increasing contract value by INR 35.99 Cr.
    – Contract value increased by INR 55.99 Cr. ostensibly for 6 items
      (amount associated with each item not specified):
       » Modular UPS
       » HVAC improvements
       » Gas suppression system
       » Switch room loads increase
       » MLCP CCTV cameras
       » Corporate floor
    – Contract value decreased by INR 20 Cr. for elimination of
      Academy building
     – Amended deadlines – effectively eliminated liquidated damages
                                                                                               67

                                                                                        LT00005848
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


KITS Project – Variation Claims

• “Final” amount on March 25, 2015 of INR 59.3 Cr. comparable to
 amount ultimately agreed on August 4, 2015 of INR 55.9 Cr.
   – Involved 44 line items, not 6 line items
   – One item for OSR Landscape Development and INR 3.4 Cr.
     reportedly removed from scope, reducing amount to INR 55.9
     Cr.




                                                                                               68

                                                                                        LT00005849
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      Update on Status of Review
         of Priority Projects

          Pune Phases 1, 1A, 2, 2A
             and Co-Developer



                                                                                        69

                                                                                 LT00005850
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project
• Office campus in Maharashtra state
  near Mumbai, designed to eventually
  house 20,000 employees
• Project in series of phases, each with
  a separate Letter of Acceptance and
  Contract
      – Phases 1 and 1A complete
      – Phases 2 and 2A suspended
      – Co-Developer not yet started
• Original RFP January 2008; Phases 1 and 1A 2011-2014
      – Phase 1 original LOA March 2011, contract December 2013
      – Phase 1A original LOA March 2012, contract February 2013
      – Project value INR 533.9 Cr. or roughly US$ 80 million

                                                                                                70

                                                                                         LT00005851
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project

• Phases 2 and 2A RFP dated September 2015
     – LOA dated June 2016
        » LOA executed by CTS only, not by LNTECC
        » Contract never executed
     – Value of project INR 607 Cr. or roughly US$ 91 million
     – No RABs rendered
• Co-Developer RFP November 2015
     – LOA dated June 2016
        » LOA executed by CTS only, not by LNTECC
        » Contract never executed
     – Value of project INR 142.7 Cr. or roughly US$ 21.5 million
     – No work has commenced on this project

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                                                                                        LT00005852
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Statutory Approvals Scope

• LNTECC to obtain all statutory approvals, except for some debate
  whether Environmental Impact Assessment remained CTS
  responsibility
     – Scope of work in RFP for Phase 1 included: “Obtaining all
       prevalent statutory NOCs and approvals with respect to the
       design, commencement of construction and commissioning and
       occupation of the facility – From EIA approvals to Completion
       Certificate.”
     – Scope of work in LOA for Phase 1 differed: “All related statutory
       approvals excluding Environmental Impact Assessment,
       Contractor will coordinate with employer and obtain the same:
     – Scope of work in Contract for Phase 1: “Obtaining all related
       statutory approvals including Environmental Impact Assessment
       shall be part of scope of works”

                                                                                                72

                                                                                         LT00005853
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Statutory Approvals Scope

• Environmental Impact
  Assessment specifically excluded
  during early negotiations over
  LOA




• Scope of work in contract for
  Phase 1A: “Obtaining all related
  statutory approvals excluding
  Environmental Impact
  Assessment shall be part of scope
  of works”

                                                                                                73

                                                                                         LT00005854
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Statutory Approvals Scope

• LNTECC nevertheless agreed to
  take steps to assist with EIA
  approval process



• CTS: Statutory approvals entirely
  within LNTECC scope




                                                                                                74

                                                                                         LT00005855
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Statutory Approvals Scope

• Ultimately statutory approvals made part of LNTECC scope – Phase 1
 contract signed December 3, 2013




                                                                                               75

                                                                                        LT00005856
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             FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Statutory Approvals Scope




                                                                                             76

                                                                                      LT00005857
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Statutory Approvals Consultants

• Five consultants retained by LNTECC to assist with obtaining statutory
  approvals
     – Pristine Consultants – Environmental
     – Sudhir Patil and Associates – Various
     – Ultra-Tech – Environmental
     – Mars Logistics – SEZ
     – Champion Switchgears – Electrical*
• Discussion whether internal consultant Nagasubramanian should be
  involved
     – Ultimately rejected, as his experience was within Tamil Nadu
        and not within Maharashtra



                                                                                                77

                                                                                         LT00005858
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Pristine Consultants

• LOI signed Mar 4, 2011
• Scope of Work: “Obtaining Environmental Clearance and Consent of
  Establishment/Operation.” “[W]ork includes data collection,
  preparation of reports and submittals, presentation to the relevant
  authorities,” as well as “follow-up and coordination” with the same and
  “liaisoning.”
• Contract Value: INR 22 Lakhs total
     – Terms of Payment: 30% after submission of EIA Report Form 1
       & 1A to SEAC/SEIAA; 15% after submission of MPCB
       application; 25% after presentation to SEAC/SEIAA; 25% after
       obtaining EC; 5% after obtaining CoE




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                                                                                         LT00005859
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                  FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Pristine Consultants

• Actual Payments: 9.9 Lakhs
– Jul 2011: INR 8.9 Lakhs for Form 1 & 1A (30%)& MPCB application
  (15%) (i.e., first two milestones)
– Jan 2012: INR 1 Lakh for obtaining clearance from PCB/ other gov’t
  approvals – CoE (5%) (i.e., final milestone)
– Both payments less 10% deductions for prof/tech services
• Invoice Descriptions include: Liaisoning/follow-up for clearances
  from pollution control board and approval of environmental impact
  assessment
• Consultant terminated early in November 2012 (replaced by Ultra-
  Tech)
• Permits Obtained: Consent to Establish approved December 7, 2011
• Due Diligence: No indication of due diligence or prior relationship
                                                                                                  79

                                                                                           LT00005860
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Ultra-Tech

• LOI signed Nov 26, 2012 (replacing Pristine)
• Scope of Work: “Obtaining Environmental Clearance and Consent of
  Establishment/Operation.” “[W]ork includes data collection,
  preparation of reports and submittals, presentation to the relevant
  authorities,” as well as “follow-up and coordination” with the same and
  “liaisoning”
• Contract Value: INR 51.6 Lakhs total
     – Terms of Payment: 20% after submission of EIA Report Form 1
       & 1A to SEAC; 5% after visit of the Environment Committee or
       against its cancellation; 5% after submission of compliance
       report of SEAC site visit observations; 10% after EIA report
       presentation; 20% after SEAC’s EC award recommendation; 5%
       after SEIAA personal hearing; 20% against EC award; 15% After
       Consent to Operate obtained
                                                                                                80

                                                                                         LT00005861
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Ultra-Tech

• Actual Payments: INR 58.5 Lakhs
     – Jan 21, 2013: INR 9,00,000
     – Mar 21, 2013: INR 4,50,000
     – Jul 23, 2013: INR 15,75,000
     – Aug 13,2013: INR 6,04,800
     – Feb 5, 2014: INR 9,00,000
     – Jul 28, 2014: INR 675,000
     – Jun 26, 2015: INR 3,65,750 – documentation not found
     – Jul 22, 2015: INR 18,512 – documentation not found
     – April 25, 2016: INR 3,65,750
     – All payments less 10% deductions for prof-tech services



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                                                                                        LT00005862
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Ultra-Tech

• Invoice Descriptions include: preparation and submission of EIA and
  compliance reports to SEAC/SEIAA; presentation of EIA report;
  obtaining Consent to Operate from MPCB; techno-legal assistance
  towards personal hearing, MPCB site visit, and award of EC
• Permits Obtained: Consent to Operate, Environmental Clearance
• Due Diligence: No indication of due diligence or prior relationship




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                                                                                         LT00005863
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Sudhir Patil

• LOI signed Mar 7, 2011
• Scope of Work: “Architectural liaisoning work for obtaining various
  NOC/Approval from MIDC/ other Govt Authorities … including Fire
  NOC, Planning Permit, Building Permit, Airport approval, water
  connection and occupancy certificate…[and] furnishing all relevant
  proforma and data collection, scrutiny of conceptual drawing of L&T.”
  Also includes “co-ordination with various authorities” and “liaisoning
  for approvals.”
• Contract Value: INR 2.25 per sq.ft total; exclusive of 10.3% service tax




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                                                                                         LT00005864
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Sudhir Patil

• Terms of Payment:
     – 20% after submission of municipal drawing to MIDC/government
       authority
     – 10% after obtaining Provisional Fire NOC
     – 5% after obtaining tree cutting permission
     – 3% after obtaining Construction Water Connection
     – 10% after obtaining Commencement Certificate
     – 15% after obtaining Plinth Checking Certificate
     – 5% after obtaining NOC from high rise building from AAI
     – 2% after obtaining Permanent Water Connection
     – 15% after obtaining Final Fire NOC
     – 15% after obtaining Occupancy / Building Completion Certificate

                                                                                               84

                                                                                        LT00005865
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Sudhir Patil

• Actual Payments: INR 53,86,598.32 (53.8 Lakhs) total between Sep 5,
  2011 and October, 3 2016
• Invoice Descriptions include: No original invoices available. L&T
  measurement book and bills list architectural services for various
  approvals (see below); as well as “liaisoning,” MIDC coordination for
  documentation and land lease execution.
• Permits Obtained: Final Fire NOC, Building Completion Certificate,
  Water connection, No Dues Certificate for Water charges, drainage
  cess., service charges & fire cess. received from MIDC; Tree Cutting
  NOC (Forest Dept.); NOC for High Rise Structure
• Due Diligence: No indication of any due diligence or prior relationship



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                                                                                         LT00005866
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              FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Champion Switchgears

• LOI signed March 2, 2012
• Scope of Work: “Supply, Installation, Testing and Commissioning
  of 5MVA Connection”
• Contract Value: INR 1,62,00,000 (1.62 Cr.)
• Terms of Payment:
     – “Expenses for preparing estimates, getting Sanction from
       MSEDCL MIDC NOC from MIDC, cable trench LOI
       MSECTL:” INR 2,50,000
     – “Expenses for getting necessary approval from Electrical
       Inspector:” INR 2,50,000
     – Supply & Installation of various materials & civil works: INR
       1,56,48,500


                                                                                              86

                                                                                       LT00005867
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Champion Switchgears

• Actual Payments: INR 1,74,47,053 (1.74 Cr.)
• Invoice Descriptions include: “Liaisoning Consultancy work for Energy
  Duty Exemption approval”
   • Internal LNTECC workbooks document “supply and installation” of
     works for power cable
• Permits Obtained: Miscellaneous electrical permits
• Due Diligence: No indication of any due diligence or prior relationship




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                                                                                         LT00005868
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Mars Logistics

• No LOI, only invoices
• No Pre-Set Contract Value
• Actual Payments: INR 44,98,973 (45 Lakhs)
• Invoice Descriptions include:
   • “Advice, Consultancy & Assistance for CTS SEZ Unit Project”
   • “Advice, Consultancy & Assistance for obtaining approval for New
     SEZ unit at Plot 16 & P1/1”
• Permits Obtained: SEZ approval
• Due Diligence: No indication of any due diligence or prior relationship



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                                                                                         LT00005869
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• Environmental clearance requirements
     – Consent to Establish – allows start of project, including
       positioning equipment and material, but not construction
     – Environmental Clearance – allows start of construction
     – Consent to Operate – allows building occupancy
• Consent to Establish and Consent to Operate from Maharashtra
 Pollution Control Board (“MPCB”)
• Environmental Clearance obtained from Environmental Department
 within the Ministry of Environment and Forests
    – State-Level Environmental Impact Assessment Authority
       (“SEIAA”) – board of experts and addresses denied applications
    – State-Level Expert Appraisal Committee (“SEAC”) – working
       authority that makes initial decision on environmental clearance
                                                                                               89

                                                                                        LT00005870
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• March 2, 2011 – D.A. Patil of Pristine Consultants advises to obtain
  environmental clearances before starting work at project
     – Pristine Consultants is retained by LNTECC the next day




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                                                                                         LT00005871
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• April 7, 2011 – CTS applies for Environmental Clearance
• April 7, 2011 – CTS applies for Consent to Establish from Maharashtra
  Pollution Control Board (“MPCB”)
• April 2011 – SEAC is dissolved at the expiration of its three-year term
     – All pending applications put on hold
     – SEAC reconstituted six months later in September 2011
     – By the time SEAC is reconstituted, backlog is 400 applications
• May 3, 2011 – CTS receives official lease from Maharashtra Industrial
  Development Corporation (“MIDC”) for property in SEEPZ Special
  Economic zone
     – Conditions provide for construction to commence within one
       year and completion within three years

                                                                                                91

                                                                                         LT00005872
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• August 29, 2011 – CTS advises SEIAA that it has started construction,
  because more than 105 days have passed since filing for Environmental
  Clearance




                                                                                                92

                                                                                         LT00005873
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• December 7, 2011 – MPCB issues Consent to Establish, but states that no
  effective steps for implementation of the project can be taken before
  obtaining Environmental Clearance
      – Obtained with assistance of D.A. Patil
• December 2011 – Construction commences
• June 25, 2012 – MPCB issues notice to CTS to show cause why
  construction should not be stopped for lack of Environmental Clearance
• September 28, 2012 – SEAC holds hearing on show cause notice and
  first hears Environmental Clearance application
      – Raises limited design questions (addressed on October 11, 2012)
      – Determines case will be treated as a violation, because
         construction already had started


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Pune Project – Environmental Clearance

• November 6, 2012 – MPCB issues notice to forfeit CTS’s Bank
  Guarantee of 10 Lakhs and asks for new guarantee of 20 Lakhs
     – Based on finding of violation at SEAC hearing
• November 26, 2012 – Ultra-Tech retained and D.A. Patil dismissed
• January 16, 2013 – SEAC issues second notice to CTS to show cause
  why construction should not be halted
• January 18, 2013 – Application is heard by SEAC
     – Orders that application will be considered only after
       enforcement proceeding is commenced by MPCB for violation
• February 15, 2013 – CTS responds to order to show cause, admitting
  that it erred in its interpretation of the 105-day rule
• April 24, 2013 – Hearing is held by SEAC on order to show cause
                                                                                                94

                                                                                         LT00005875
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Project Pune – Environmental Clearance

• April 24, 2013 – CTS ordered by SEAC to stop all construction
• June 6, 2013 – CTS requests payment to SEAC and MPBC officials to
  assure that any case filed against CTS will be “mild and expedited”




• “[T]hey are expecting something from us apart from consultant”
                                                                                                95

                                                                                         LT00005876
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• June 6, 2013 – Goals of payment are described and amount of payment
 estimated at INR 1.5 Lakhs (roughly US$ 2,300)




                                                                                               96

                                                                                        LT00005877
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Pune Project – Environmental Clearance

• June 6, 2013 – Project team
  seeks approval for payment
     – Case number required by
        SEAC is obtained
• June 11, 2013 – LNTECC meets
  with SEIAA Secretary to seek
  hearing at next SEAC meeting
• July 1-3, 2013 – Hearing on
  Environmental Clearance
• July 5, 2013 – Un-official
  confirmation of Environmental
  Clearance


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                                                                                         LT00005878
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Pune Project – Environmental Clearance

• July 5, 2013 – Approval sought
 for payment of INR 9.6 Lakhs
 to Ultra-Tech for “liaisoning
 works”
• Sum described as “expenses
 towards MPCB” (Maharashtra
 Pollution Control Board)
 following “un-official
 confirmation that the case was
 cleared for EC”
• Approval for payment not
 found, but 7 Lakhs payment
 found in accounting records


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                                                                                        LT00005879
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Pune Project – Environmental Clearance

• July 9, 2013 – Ultra-Tech notifies LNTECC that SEAC recommends
  Environmental Clearance for the Pune Project be awarded
• September 6, 2013 – D.A. Patil complains about process for obtaining
  Environmental Clearance and references a possible payment




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                                                                                        LT00005880
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Project Pune – Statutory Approval Claim

• Billing for statutory approvals was never included in running account
  bills for Pune Project
      – No weightage was assigned to statutory approvals in initial
         billing setup, because they were not in scope at the time
      – CTS agreed that billing would occur as part of variation or extra
         claims process
• History of development of extra claims shows significant growth in
  statutory approvals line items over time




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                                                                                        LT00005881
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Pune Project – Statutory Approval Claim

• June 21, 2012 – First internal documents setting forth potential extra
  claims for statutory approvals
      – Total of INR 75.8 Lakhs claimed of 16.5 Cr. total extra claim
      – Pristine, Sudhir Patil and Champion Switchgears mentioned
• March 22, 2013 – LNTECC sends CTS extra claim document
     – Requests INR 3.8 Cr. for statutory approvals out of 47.2 Cr. total
       extra claim
     – Amount includes “idling charges” for project delay
• August 22, 2013 – LNTECC sends CTS revised claim document
     – Now requests INR 5.05 Cr. for statutory approvals of 48.5 Cr.
       total extra claim
     – Claim of INR 3.9 Cr. for “idling” included separately

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                                                                                         LT00005882
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Pune Project – Statutory Approval Claim

• March 22, 2013




                                                                                              102

                                                                                        LT00005883
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Pune Project – Statutory Approval Claim

• August 22, 2013




                                                                                              103

                                                                                        LT00005884
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Pune Project – Statutory Approval Claim

• December 24, 2013 – Statutory approval claim for INR 5.05 Cr.
 rejected by CTS, because environmental clearance was in scope




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                                                                                        LT00005885
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Pune Project – Statutory Approval Claim

• Final agreement in December 2013 – 20 Cr. without any breakdown




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                                                                                        LT00005886
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Pune Project – Statutory Approval Claim




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                                                                                      LT00005887
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       Update on Status of Review
          of Priority Projects

   Hyderabad Incubation and ISC




                                                                                       107

                                                                                 LT00005888
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Hyderabad Projects

• Office campuses planned in two locations for two different projects,
  each with separate LOAs:
     – Hyderabad Incubation: Adibatla Special Economic Zone (“SEZ”)
        – pre-closed
     – Hyderabad ISC: Financial District, Nanakramguda, Gachibowli;
        to house 8,000+ associates - suspended
•Incubation: 2013 – 2015
      – Incubation original LOA October 2013, no executed contract
•ISC: RFP 2014; Project period: 2016-TBD
      – ISC original LOA October 2015; no executed contract
•Total value of both projects INR 563.3 Cr. or roughly US$ 84.7 million


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                                                                                         LT00005889
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Hyderabad Projects – FCPA Clauses

• LOAs for both ISC and Incubation include aggressive FCPA clauses




• LNTECC required to assure that the company, as well as its
  subsidiaries, affiliates, and subcontractors are in compliance with CTS
  anti-corruption policy and applicable anti-corruption law
     – Requires prior written approval for all subcontractors (not
        exercised)


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                                                                                        LT00005890
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Hyderabad Projects – FCPA Clauses




                                                   • CTS right to audit for FCPA
                                                      compliance
                                                   • Full disclosure of any FCPA
                                                      risks to government agencies
                                                   • Contract termination rights if
                                                      good faith belief of anti-
                                                      corruption violation




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                                                                                      LT00005891
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                 FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad Projects – Statutory Approvals Scope
•LNTECC to obtain all statutory approvals, including the Environmental Impact
Assessment, with CTS paying actual statutory fees


Incubation:




                                                      ISC:




                                                                                               111

                                                                                         LT00005892
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad Projects – Statutory Approvals Scope

• Incubation: 50 Lakhs attributed
 to statutory approvals
     – Beyond electrical
        authorization for power at
        site, no statutory approvals
        appear to have been
        obtained




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                                                                                        LT00005893
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Hyderabad Projects – Statutory Approvals Scope
• ISC: No itemized breakdown for
  statutory approval costs
• Approvals obtained include (single-
  window approval):
     1. Environmental Clearance
     2. Telangana State Pollution
        Control Board (“TSPCB”)
        Clearance
     3. Airports Authority of India
        approval and NOC for height
        clearance
     4. Provisional NOC from                             Note: Approvals, obtained between
        Director General Fire Services                   December 2015 – February 2016,
                                                         expire after one year
     5. TSIIC Conditional Approval
        for building permit
                                                                                              113

                                                                                        LT00005894
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                  FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad Projects – Consultants

• While consultants were initially retained and obtained some permits
  for the Hyderabad project, it is reported that all work on the projects,
  including any work with consultants, has ceased
• Incubation:
     – Sai Balaji Electricals
• ISC:
     – Jhanavi Consultants
     – B.S. Envi-Tech Pvt. Ltd




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                                                                                          LT00005895
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad Incubation – Sai Balaji Electricals

• LOI signed January 6, 2014
• Scope of Work:
     – “Supply, Erection, Testing & Commissioning of 11kV/0.433kV
       Dist. Transformer Switch Yard…”
     – “All Civil works: Like Concreting, Excavation and Back Filling for
       transformer plinth …”
     – APCPDCL and CEIG approvals
• Contract Value: INR 7,00,000 (7 Lakhs)
• Terms of Payment:
     – 50% after receipt of APCPDCL Sanction Memo
     – 20% after material delivery at site
     – 30% after power release

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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad Incubation – Sai Balaji Electricals

• Actual Payments:
     – Consultant invoiced INR 424,720 for liaisoning and approvals
     – Internal LNTECC payment approval sought for INR 1.82 Cr.
        » Sai Balaji also a vendor on the project
• Invoice Descriptions include:
     – “liaisoning charges;” “getting approval from Electrical Inspector”
     – “APCPDCL and CEIG approvals”
• Permits Obtained: APCPDCL and CEIG approvals
• Due Diligence: No indication of any due diligence




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                                                                                        LT00005897
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad ISC – B.S. Envi-Tech


• LOI signed July 18, 2015
• Scope of Work: “preparation of application, submitting of Form 1,
  presenting the case to SEAC / SPCB, procuring Environment Clearance
  and preparing the application and procuring Consent for
  Establishment and Consent for Operations from the concerned
  departments…”
• Contract Value: INR 7,00,000 (7 Lakhs)




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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad ISC – B.S. Envi-Tech
• Terms of Payment:
     – Mobilization & Submission of Form 1 to SEIAA / SPCB – INR
       84,000
     – Upon presenting the case to SEAC, SPCB – INR 42,000
     – Upon Receipt of Environment Clearance – INR 63,000
     – Upon submission of application for CFE and completion of Site
       visit by RO, SPCB – INR 84,000
     – Upon receipt of CFE – INR 84,000
     – Submission of Application and obtaining CFO – INR 63,000
     – For additional data collection for SEAC presentation – INR
       1,12,000
     – For additional data collection for CFE application – INR
       1,12,000
     – For additional data collection for CFO – INR 56,000
                                                                                              118

                                                                                        LT00005899
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad ISC – B.S. Envi-Tech

• Actual Payments: INR 6,41,655
• Invoice Descriptions include: language identical to LOI payment terms
• Permits Obtained:
     – Environmental Clearance
     – Telangana State Pollution Control Board (“TSPCB”) clearance
• Due Diligence: No indication of any due diligence




                                                                                              119

                                                                                        LT00005900
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad ISC – Jhanavi Consultants

•LOI signed August 10, 2015
•Scope of Work: “…preparation of, application, submitting to the
concerned department and getting necessary approvals “
•Contract Value: INR 55,00,000 (55 Lakhs)




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                                                                                        LT00005901
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad ISC – Jhanavi Consultants

• Terms of Payment
    – Airport Authority of India, Height Clearance for Each Block /
      Building – INR 80,000
    – Telangana State Disaster Response and Fire Service Department,
      Provisional NOC from DG Fire Services – INR 9,00,000
    – Vice Chairman, TSIIC / IALA, TSIIC Approval for Site and
      Buildings – INR 30,40,000
    – HMWS&SB, Water Feasibility Report – INR 2,50,000
    – Telangana State Central Powers dist.com ltd, Power Scheme
      Sanction from the Board – up to release including drawings &
      loads & installations approval (Rule-63) of statutory approval by
      CEIG – INR 9,50,000
    – Storage of Diesel for DG sets, Controller of Explosives, Southern
      Region – INR 2,80,000
                                                                                              121

                                                                                        LT00005902
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                FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad ISC – Jhanavi Consultants
• Terms of Payment (for each individual item):
     – 25% on submission of documents in final shape to L&T for
       signatures before submission to respective authorities
     – 35% on inspection of site by Officials of respective departments
     – 20% on obtaining permission to start construction activities
     – 20% on handing over approvals.
• Actual Payments: INR 25,53,980
• Invoice Descriptions include: “Liaisoning charges for obtaining
  Approvals/NOC;” other language identical to LOI
• Permits Obtained: NOC clearance from Airports Authority of India
• Due Diligence: No indication of any due diligence

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                                                                                        LT00005903
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               FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC


Hyderabad Projects – Payments from Cognizant

• Incubation: No known payments
• ISC:
    – 5 Running Account Bills
    – INR 1,03,40,000 billed for 7 statutory approval-related works
       » Billing based on weightages, not cost incurred




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                                                                                       LT00005904
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                Next Steps and
              Ongoing Cooperation




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                 FOIA CONFIDENTIAL TREATMENT REQUESTED BY LNTECC




Interim Update from
Internal Review of CTS Projects
Presentation on Behalf of L&T Construction
to the U.S. Department of Justice


                                        The End


July 27, 2017




                                                                                         LT00005906
